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ASP-46

 

MEMORANDUM

TO: GREG DOWNS
CORA GENTRY

FROM: TFC KURT ZIEGENHORN #501
RE: JAMES TANNER

DATE: DECEMBER 3, 2014

On November 29, 2014, approximately 10:50 P.M., while off duty shopping at Wal-
Mart in Searcy, AR, with my family, with my pistol covered and my badge visible(clipped
on the lower part of my pants pocket below my weapon. I came into contact with a subject
later identified as James Tanner. The subject was wearing a tactical holster with a firearm
strapped to his right thigh (between waist and knee) in an open carry position. I first
assumed he was law enforcement but did not notice a badge or any identification. As he
approached the area J was standing. I curiously asked the subject what law enforcement
department he was with, and the subject stated in a condescending manor that he was
with no one. I then identified myself as Trooper Ziegenhorn with the Arkansas State
Police and asked him for his name and ID. He moved his right hand downward in the area
of his pistol. I then reached and grabbed his right wrist and elbow and again identified
myself. He became very defensive and agitated and stated he did not have to tell me
anything. I informed him that he could not open carry and suggested that he needed to
leave. He stated he was leaving and I allowed him to walk out in front of me to the front

of the store.

Before I could call for assistance, he said he was calling the police, which was fine, as
it left my hands free. As we approached the front, he found a Manager, which I presented
my State ID and the manager stated that he did not want Mr. Tanner in the store. Mr.
Tanner's demeanor was very nervous and confrontational.
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Once outside we encountered Officers with Searcy Police Department (Searcy PD report
#2) attached. They performed an ID check and found that Mr. Tanner did not have any
current warrants and had a valid CHCL permit. The Searcy officers told Mr. Tanner to
leave and to not come back wearing a weapon.

The Searcy officers informed me that this was not the first encounter with Mr. Tanner
(Searcy PD report #1).

An affidavit for arrest has been signed by Searcy Prosecutor Buck Gibson for 5-73-120 and
5-54-102 and sent to White County Judge for Warrant.

I strongly believe that Mr. Tanner's neglect of CHCL rules and the Laws of the state of
Arkansas are just cause to Suspend or Revoke his CHCL License.

Included 5 attachments
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MEMORANDUM

TO: GREG DOWNS
CORA GENTRY

FROM: TFC KURT ZIEGENHORN #501
RE: JAMES TANNER

DATE: DECEMBER 3, 2014

On December 3, 2014, at approximately 1:50 p.m., while in Searcy on duty doing
paperwork on an affidavit on Mr. James Tanner, I happened to come in contact with him
again as I was exchanging eyeglasses at the Vision Center at Wal-Mart.

As I was leaving I approached Mr. Tanner and asked him for his ID and if he was carrying
a weapon. He said he was not carrying a weapon at the time and he strongly opposed and
stated he did not have to show me an ID. He appeared to becoming Disorderly and to
keep from having any confrontation in front of a large group of people inside a business, I
quickly restrained him for my safety and escorted him outside to my patrol car.

I then asked for his ID again and he stated no. I searched Mr. Tanner for an ID a found his
Driver’s License and CHCL permit visible upon initial opening of his wallet.

I informed him that his CHCL was under review for revocation and was going to be sent
to Little Rock. I told him that I was not going to charge him now, and informed him of
pending charges by the prosecutor. He subsequently released as he had calmed.

I attempted to start my car camera remotely, but it had evidently become unsynchronized
while I was inside.
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It appeared to me that Mr. Tanner shows cynicism towards law enforcement and
authority. His refusal to comply, references to the constitution, invoking silence in
conversation, and his attempts to quote law were repetitive.
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ARKANSAS STATE POLICE

 

   

Case Form

Date: January 14, 2015

Dictated by: Corporal Jeff Whitlock

Date typed: January 17, 2015

Copies to: Office of Professional Standards / Corporal Jeff Whitlock

INTERVIEW OF DEPARTMENT MEMBER

JW: Corporal Jeff Whitlock with the Arkansas State Police. This is the 14" day of
January 2015. The time is 2:26 PM. | will be interviewing Trooper First Class Kurt
Ziegenhorn. All right. What we’re here for today, Kurt, is a complaint that was
issued, brought to the attention of the Arkansas State Police on December 9"" of
last year from a gentleman by the. name of James Tanner. He references two
dates 11-29-14 and 12-3-14. Let’s start on 11-29, both of these at Searcy
Walmart Supercenter. Can you start on 11-29 and kind of tell me what transpired
on that date with this gentleman, James Tanner.

KZ: Um, November 29" it was about 10:50, 10:30, 11:00 o’clock, somewhere in that

neighborhood.
JW: At night?
KZ: At night.
JW: Okay.
KZ: | was off duty shopping with wife and family. We were in the toy section of

Walmart in Searcy. Then a gentleman strolling down the aisle just (inaudible,
01:0809) something in his hand just out of place and he was wearing a side drop
tactical holster that was strapped. First notion as he was coming towards the toy
aisle, toy area where we were. My first inclination was it was’an off duty police
officer. | was sitting on one side of a 4X4 crate and he come...he walked up. |
just calmly asked who he was with. Mind you by my gun at the time was covered
by my tee shirt but my badge was down on the bottom part of my pants pocket, my
Arkansas State Police badge. It was visible where my gun was not at the time.
Like | said | thought he may with a local PD so | asked him who he was with and
instead of a calm response or he said I’m not with anybody, he says in a loud,
File Number: Crime: OPS
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Kurt Ziegenhorn Interview

JW:
KZ:
JW:

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JW:
’ KZ:

JW:

KZ:

sharp.tone and kind of shrugs his head back, “I’m not with anybody.” Well that
garners my attentions, it’s like something’s amiss. At that point | identified myself
as Trooper Ziegenhorn with the Arkansas State Police and | said, “I need to see
your identification.” And again he struck back, says “I don’t have to show you
anything. | ain’t got to do nothing.” At that time his right hand came down to his
side a little bit at that point | grabbed his right wrist and my other hand was at his

elbow.

Mm-Hm.

Just to control...

Right hand side that the gun was on?

That was the side that the gun was on. It was a right hand holster on his right leg
and that was his right arm. | did that to control his...any arm movement. And so |
could feel the suspect, subject out. | asked him, | said, “You can’t be carrying that
in here.” And he says, “Leave me alone.” | said | have this ID. You know |
identified myself am a State Trooper with the Arkansas State Police. | identified
myself twice. He calmed down a little bit. “Leave me alone,” or whatever and
stuff, “I’m going to call the police.” He kind of relaxed a little bit. My mistake, |
didn’t have any handcuffs with me. But when | realized he loosened up and he
was a little calmer, that’s when | come back, | rolled my shirt up, moved my shirt
up over my pistol. It was now visible along with my badge. Without having
handcuffs, the options was for him to comply and he seemed to be complying. He
told me, “I’m going to call 911.” | told him, | said he needs to leave. He said, “I’m
leaving.” He starts walking out ahead. | let him walk ahead of me. I walked see
how, in front of me and he said he’s calling 911. | can hear him. Right in front of
the store | follow him up. The guy looks over. I’m keeping an eye on the, he’s
using his right hand on the phone so now | don’t have to worry about his hand
towards his pistol so much. | then also moved, | moved my state identification, the
big blue state police identification out of my pocket and went and approached the
front. He went up there with one of the Walmart people trying to say, “This guy is
bothering me,” and all this stuff. | said, “I need to see your ID.” “I ain’t got to show
you nothing.” | said, “Who are you?” And | think he said, told me, “Rick Tanner.”
And | said...he did tell me his date of birth at the time.

He did tell you?

Yes.

Okay.

At the front of the store.

Okay.

After | advised him you are required to tell me. He already refused that to me

again. Well the Walmart, the people at Walmart told him he needed to leave. And
| said, “He had called 911,” and (inaudible) PD was outside or standing at the door

File Number: 2 Crime: OPS
Case 4:17-cv-00780-DPM Document 61-4 Filed 06/20/19 Page 7 of 12

Kurt Ziegenhorn Interview

JW:
KZ:

JW:

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and we walked around with him. At that point | figured Searcy PD would take it as
far as carrying open weapons of that nature and a tactical holster. | showed them
where the tactical holster would be, it’s not like a regular holster. His demeanor at
the time was fidgety. He was not calm. It’s just...it caught, it caught my eye. Um,
Searcy PD, they released him. Told him not to come back here with a weapon. At
that point he went on, | thought they allowed him, went home and left. Two
officers there, | believe I’ve got their names here, um, he never showed me his
driver's license. Said he had a concealed carry permit. They have run it. | never
laid hands on his driver's license or either one at the time. Um, at that point when
the night was done, Searcy PD, they let go, | was there with my family, wife, two
young kids, and they let him go to the house, well I'll come back and | can do an
affidavit on Monday. Ah, that was about the extent of that.

Okay.
Until the 29".

Did you ever handcuff him that night? Did you ever take him into custody,
anything like that, that night?

| never handcuffed him. At that time | didn’t have any.
Okay.
| was at a disadvantage because | didn’t have any.

Okay, did you detain him in any way? Or were you allowing him to freely move in
front of you?

| kept a safe distance away and never had to take any action. That can
correspond with just trying to keep myself in a tactical advantage on him.

So that night ends, you’re in the mindset, I’m going to go back, this is a Saturday
night, is that right?

| believe it was a Saturday night. Saturday night.
So you're in the mindset I’m going to go on Monday to White County?
| was off Monday, so probably went...

Tuesday, I’m going to go... Tuesday was my first day back to work, go to White
County, do an affidavit, submit that to the city attorney and blah, blah, blah, so,

okay, continue on.
At that time | called, like Monday, Monday | had called down here to Cora Gentry.
You're off Monday but you called down here?

Yeah, | was off Monday.
r: 3 Crime: OPS
Case 4:17-cv-00780-DPM Document 61-4 Filed 06/20/19 Page 8 of 12

Kurt Ziegenhorn Interview

JW:

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JW:

JW:

KZ:

Okay, | got ya. Okay.

But | called down to Cora Gentry conceal carry and got in touch with Greg Downs
and as far as grounds, you know, do it, revoke his concealed carrying. | told him
it's, we'd like to get our hands on that.

On the license itself?
On the conceal carry license and make it to revoke it.
We're they willing to revoke it either way but they wanted it...

They said it’s, that way it could be, it’s not in his hands, they'd like to have it.

Okay.
(Inaudible) If | run across him, I'd see about it.

Okay.

But | don’t work in White County. | went over and did the affidavit. | went to
attorney, city attorney Bud Gibson’s office, did the, did the affidavit, turned in the
affidavit, and um, arrest warrant, but they don’t set that; that goes before the judge
first so | dropped off at court county, the District court’s office. At that point my son
had a pair of glasses that needed to be fixed so | dropped them off at Searcy
Vision Care. On my way back to Woodruff County.

ls that in the Walmart?
That’s in the Walmart.

Okay.

| proceeded around, parked. | walk in, walk down the front between the registers
and the, from like Subway about to the...the long way towards the vision center. |
happened to see him there, Mr. Tanner. | said well he’s there, let me go ahead
and drop these glasses off. If he’s here, I'll go up and talk to him.

We're you in uniform?
| was in full uniform at this time.

Okay. All right.

And | went down to drop my son’s glasses off and have them fixed because they
were broke. I then did that and | proceeded to come out. He was standing there
in the service department area. So | approached him. | asked, “Mr. Tanner, how
are you doing today? Are you carrying a weapon today?” He kind of jilts up, “No,
I'm not carrying.” And | thought this is kind of the same thing | run into, he’s going

File Number: 4 Crime: OPS
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Kurt Ziegenhorn Interview

JW:

KZ:

JW:

KZ:

JW:

KZ:

JW:

KZ:

to jump up and be kind of erratic, sporadic and so I'd like to see you carry conceal
carry permit. | wanted to look at it, you know, get it, retrieve it for our conceal carry
division but he at that point just stiffens up, kind of bows up and it’s like | tell myself
| can’t have this in the service center in front of Walmart, 50 people up there. For
my safety and everybody else’s safety around, | said | got to move it outside. With
the way his actions were | knew if I just tried politely it’s like ‘let's go’, it’s not going
to happen. So at that point for my safety and everyone else’s | put him in cuffs, |
said, and walked outside to my car. | explained to him, | said we come out here to
get out of all the people. He started messing around. | said you can sit in the car
with me real quick and we'll talk. He said, “I’m not sitting nowhere. I’m going to
go.” | said, “All right, we’re going to go. I’m just going to ask a couple questions. |
need to see your identification.” | said, “You have a conceal carry.” | advised him
that it’s in the process of being revoked for carrying, you know carrying a weapon.
Conceal carry license has to return to Little Rock. It was kind of I'll have to give
you the up and down as | pull out his wallet and | flip his wallet open just a little.
His conceal carry is visible. | said this is it right here. | said this is privileged by
Arkansas State, issued by the state police. It’s going to be returned to Little Rock
and charges for that night and you're going to hear from the prosecutor office on
that. I tried to calmly...! tried to explain myself, talk to him, tried to talk some
sense into him. It’s like man, you just got to calm down. He didn’t want to talk.
He wanted to start rattling off, ah, act 746, legal right to carry anywhere, violation
of his 4° amendment, taking his conceal carry, violation of his fourth amendment,
taken, you know, carry, violation fourteenth amendment, and I’ve heard this before
from (inaudible) this guy...1 don’t know where he’s going. | said after | got the
calls, | explained to him he’d be hearing from the prosecutor's office on the
charges, released him without charges. | let him walk away. | visually observed
him until he was out of my sight before | then left.

Okay.

| did a memo and sent it down to Cora Gentry and Greg Downs called them about
that encounter also.

Okay.

| mailed, | then mailed the conceal carry, which | called and said we had it, and
sent it down to conceal carry department.

Okay. So did you arrest him that day? How do you think that interaction went in
the store? Did you...was he under arrest or what was your thought process that

day?
On the 37
Yes, Mm-Hm.

With my previous interaction, | wanted to make sure he wasn’t carrying a weapon.
He’s confrontational. I’ve learned that with...he had been confrontational with
Searcy PD. I’ve learned from the other and that’s the last place for public

File Number: 5 Crime: OPS
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Kurt Ziegenhorn Interview

JW:

KZ:
JW:

K2:

JW:

JW:

K2:

JW:

JW:

KZ:

JW:

JW:

KZ:

safety...1 didn’t want to be confrontational, you know, with 50, 50 more people out
in the front part of Walmart.

So is it fair to say you thought that a confrontation was...was in the near future if
you didn’t take control of the situation?

That's the reason | did it, to control the situation, move it outside.

Okay.

And out there he was being....kind of up and | left him in cuffs for just a little bit
and then took him out.

Okay. Um, had he calmed down by the time you took him out of the handcuffs?

He had calmed down a little bit but he was still...he was not armed there at that
time. | patted him down, checked him, make sure he wasn’t carrying anything.

So you didn’t take the conceal carry license reference the incident on the 3, you
took the license from what you had witnessed on the 29"? Him carrying that
weapon in the open, even with a conceal handgun license, they said we'll start the
process to revoke but it would be best if you had the license. You were just
following through with a previous encounter is basically what it boils down to?

That’s correct.

Okay. Okay. So this is really one incident, not two separate incidents? You took
the license because of what happened previously, because of what you witnessed
in your official capacity?

That’s correct.

Is there anything else you want to add about this incident?
Um, on the previous, on the 29"...

Mm-Hm.

Officer Naggles with the Augusta Police Department was off duty at the time. He
had ran into me and he had saw us at Walmart and he had asked me about that
and he said, “! had seen that guy running around in the medicine area.” You
know, just walking around. He saw that he was out of place. Like | said, | seen
the guy and was some not right because of the type of holster, the way he was
carrying and the way his gait that he walked.

You could tell something wasn't...

Something...it wasn’t a normal, normal, just, you know, wasn’t there with family or
there...

File Number: 6 Crime: OPS
Case 4:17-cv-00780-DPM Document 61-4 Filed 06/20/19 Page 11 of 12

Kurt Ziegenhorn Interview

JW:

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JW:

JW:

KZ:

JW:

JW:

Did he purchase anything at the store that you witnessed?

If he had something, he had one little item but not when | had seen him.

So it wasn’t like he had bunch of groceries?

He didn’t, he didn’t have a buggy.

Okay. Okay. Okay, anything else?

That's all I...

Okay, I’m going to conclude this interview at 2:42. We're going to go back on the
recording again at 3:18. [| want to touch base back for a minute. Kurt, on the
afternoon of the 3, when you again saw at Walmart following the incident on the
29"", when you attempted to take his license on that day, which was requested of

you, you said, Lt. Gentry, said that it would be best if you had it. They could go
start the revocation process but it would be best if you had...

The actual license.

The license itself. When you confronted him at the Walmart and attempted to take
that license, do you feel his actions were disorderly? Was he creating a scene at

that Walmart?

He was starting to create a scene by his...his tone of voice became, started to
become loud. As far as noise around people, there were people...there was
probably six people within arm’s length. Plus there was others. | mean there was

probably, let’s see, probably six there, probably 10-15 right there in front of him.
Plus there was probably another 20-30 right behind us.

So 50 people?
Yes. There’s at least that many up front.
Okay. What was his personal action? | mean, you say he became loud.

He kind of, he stiffened up like...it appears he was going to become
confrontational.

Okay.

_His tone of voice changed. From normal to higher pitch.

Okay.

And, just by me watching, as soon as he started yelling and getting everyone’s
attention around to focus on what was going rather than me just passing through.
In other words his actions already confirm that everyone else will draw their

attention to that area.

File Number: 7 Crime: OPS
Case 4:17-cv-00780-DPM Document 61-4 Filed 06/20/19 Page 12 of 12

Kurt Ziegenhorn Interview

JW:

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JW:

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JW:

KZ:

JW:

KZ:

JW:

K2:

JW:

JW:

Because he was being lined up with the people around him, witnessed what he
was saying?

Right. Correct.

Okay. Okay. Did you feel that if you did not take immediate action that it could
have potentially deteriorated?

Yes, it could have deteriorated and become...| feel like he would have became
louder, more confrontational in the public place with that many people around.
His, again, they asked in the past he’s had other people with him. | (inaudible) |
needed to get him out in my space where | didn’t have my back to so many people
because he has confronted, | know, Searcy PD in the past with someone at the

side.
Okay.

So it’s my, like | said, being with tactical advantage, | don’t want to confront
somebody that has the possibility of going south when I’ve got 50-60 people
around me and don’t know it one of them is with him.

Okay. At any point during that encounter on the 3™ inside the store did you fear
that there may be a violent encounter with him? A physical encounter with him?

Did you feel that he may have became at some point physical with you had you
not intervened and taken control of that situation?

| feel like it would have. Yes.

No doubt in your mind?

There’s no doubt in mine he would have got loud, obnoxious, | mean, at some
point there and that’s when | took immediate action, moved it outside, clear

everybody else.
Okay.
And it went down smoothly.

Okay. All right. This concludes at 3:21.

File Number: 8 Crime: OPS
